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 7                                UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                        No. 2:99-cr-000433 WBS AC
11                      Plaintiff/Respondent,
12           v.                                       FINDINGS AND RECOMMENDATIONS
13   HOANG NGUYEN, aka BAO HOANG
     LU
14
                        Defendant/Movant.
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             Movant, a federal prisoner, brings a challenge to his sentence under 28 U.S.C. § 2255.
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     ECF No. 1719. Movant seeks relief pursuant to Johnson v. United States, 135 S. Ct. 2551 (2015)
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     (holding 18 U.S.C. § 924(e), the residual clause of the Armed Career Criminal Act (ACCA),
19
     facially void for vagueness). Id. He also seeks relief pursuant to Miller v. Alabama, 567 U.S.
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     460 (2012) (prohibits mandatory life without parole sentences for juveniles). The United States
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     opposes the motion, ECF No. 1768, and movant has replied, ECF No. 1772.
22
        I.        BACKGROUND
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             Mr. Lu and six co-defendants were charged by indictment on October 1, 1999, with
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     charges arising from four robberies. ECF No. 1. After lengthy pre-trial litigation, defendants and
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     counts were severed for trial. ECF No. 475. Three of the defendants, including Lu, were tried in
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     2003 on the first three counts, which involved a jewelry store robbery. On June 9, 2003, Lu was
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     found guilty by the jury of conspiracy to commit Hobbs Act robbery, in violation of 18 U.S.C.
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 1   § 1951(a) (Count 1); using a firearm to commit a crime of violence, in violation of 18 U.S.C.
 2   § 924(c)(1) (Count 2); and death caused by use of a firearm during a crime of violence, in
 3   violation of the former 18 U.S.C. § 924(i) (now § 924(j)) (Count 3). ECF No. 525. Lu was
 4   sentenced on August 20, 2003, to life imprisonment. ECF No. 561.
 5             The convictions were affirmed on appeal, and the sentences remanded for reconsideration
 6   under United States v. Booker, 543 U.S. 220 (2005) and United States v. Ameline, 409 F.3d 1073
 7   (9th Cir. 2005) (en banc). ECF No. 771. On June 22, 2009, Lu was again sentenced to life
 8   imprisonment on Counts 1-3. ECF No. 1294. He again appealed, and the sentence was affirmed
 9   on February 17, 2011. ECF No. 1524.
10             A first § 2255 motion challenging the conviction was filed on March 14, 2012. ECF No.
11   1561. It was denied on May 16, 2013. ECF No. 1597. On June 23, 2016, the Court of Appeals
12   authorized the instant second or successive § 2255 motion. ECF No. 1726.
13      II.       THE MOTION
14             Mr. Lu contends that his convictions under 18 U.S.C. §§ 924(c) and 924(i) are invalid
15   after Johnson, supra, which held that the residual clause definition of “crime of violence” in the
16   Armed Career Criminal Act, § 924(e)(2)(B)(ii), is void for vagueness under the Due Process
17   Clause. He also seeks relief pursuant to Miller v. Alabama, 567 U.S. 460 (2012), which prohibits
18   mandatory life without parole sentences for juveniles.
19      III.      MOVANT’S JOHNSON CHALLENGE TO THE GUN COUNTS
20             A. Pertinent Statutory Framework
21             Title 18 U.S.C. § 924(c) provides in pertinent part as follows:
22                    (1)(A) Except to the extent that a greater minimum sentence is
                      otherwise provided by this subsection or by any other provision of
23                    law, any person who, during and in relation to any crime of violence
                      or drug trafficking crime (including a crime of violence or drug
24                    trafficking crime that provides for an enhanced punishment if
                      committed by the use of a deadly or dangerous weapon or device)
25                    for which the person may be prosecuted in a court of the United
                      States, uses or carries a firearm, or who, in furtherance of any such
26                    crime, possesses a firearm, shall, in addition to the punishment
                      provided for such crime of violence or drug trafficking crime--
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                      (i) be sentenced to a term of imprisonment of not less than 5
28                    years. . .
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 1   18 U.S.C. § 924(c)(1)(A) (emphasis added).
 2          The term “crime of violence” is defined as follows:
 3                  (3) For purposes of this subsection the term “crime of violence”
                    means an offense that is a felony and --
 4
                    (A) has as an element the use, attempted use, or threatened use of
 5                  physical force against the person or property of another, or
 6                  (B) that by its nature, involves a substantial risk that physical force
                    against the person or property of another may be used in the course
 7                  of committing the offense.
 8   18 U.S.C. § 924(c)(3). The first clause, § 924(c)(3)(A), is known as the “force” or “elements”
 9   clause, and § 924(c)(3)(B) is known as the “residual clause.”
10          The former 18 U.S.C. § 924(i) provides as follows:
11                  (j) A person who, in the course of a violation of subsection (c),
                    causes the death of a person through the use of a firearm, shall --
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                    (1) if the killing is a murder (as defined in section 1111, be
13                  punished by death or by imprisonment for any term of years or for
                    life; and
14
                    (2) if the killing is manslaughter (as defined in section 1112), be
15                  punished as provided in that section.
16   18 U.S.C. § 924(j).1
17          B. Johnson and Dimaya
18          In Johnson v. United States, the U.S. Supreme Court held that the residual clause of the
19   Armed Career Criminals Act is void for vagueness. The provision at issue had required sentences
20   of 15 years to life sentence in 18 U.S.C. § 922(g) felon-in-possession cases where the defendant
21   had been convicted of three or more prior “violent felonies” – defined as felonies involving
22   “conduct that presents a serious potential risk of physical injury to another.” Johnson, 135 S. Ct.
23   at 2255-56. The Supreme Court found that this definition of violent felony violates due process
24   when used to require an enhanced sentence, because it does not give sufficient notice to
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26     The indictment in this case identified the pertinent code section as § 924(i) according to the
     1996 version of the U.S. Code, which was in force at the time. The subsection was re-designated
27   during the pendency of the case, without any substantive change. See ECF No. 792 (order re:
     motion to dismiss) at 5 n.3 (noting the change); ECF No. 1557-4 at 35 (RT of 5/27/03 at 32)
28   (same).
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 1   defendants of the conduct that will support the enhancement, and because it invites arbitrary
 2   enforcement by judges. Id. at 2557. Only the ACCA’s residual clause was held unconstitutional;
 3   the statute’s alternate definitions of “violent felonies,” including the definition based on the
 4   elements of the offense, remain in force. Id. at 2563. Johnson constitutes a new rule of
 5   substantive criminal procedure that applies retroactively to cases on collateral review. Welch v.
 6   United States, 136 S. Ct. 1257, 1265 (2016).
 7           In Sessions v. Dimaya, 138 S. Ct. 1204 (2017), which affirmed the judgment of the Ninth
 8   Circuit, the Supreme Court applied Johnson to invalidate the Immigration and Nationality Act’s
 9   incorporation of 18 U.S.C. § 16(b)’s residual clause. That statutory language defines a “crime of
10   violence” as a felony “that by its nature, involves a substantial risk that physical force against the
11   person or property of another may be used in the course of committing the offense.” Dimaya, 138
12   S. Ct. at 1211. The Court found that because this language is impermissibly vague under
13   Johnson, it cannot be incorporated into the INA’s definition of an “aggravated felony” for
14   purposes of mandatory deportation. Id. at 1223. Like Johnson, Dimaya involved a prior
15   conviction that had been found to qualify as a crime of violence under the residual clause and not
16   on the basis that an element of the offense involves the use of force. Id. at 1211 (immigration
17   court held pursuant to residual clause that first-degree burglary is a crime of violence because it
18   “carries a substantial risk of the use of force”).
19           C. Pertinent Ninth Circuit Law Prior to Johnson
20           In 1993, the Ninth Circuit held that conspiracy to commit Hobbs Act robbery constituted a
21   crime of violence under § 924(c)’s residual clause. United States v. Mendez, 992 F.2d 1488,
22   1491 (9th Cir. 1993) (“We do not address whether conspiracy to rob in violation of § 1951 is a
23   ‘crime of violence’ under subsection (A) of § 924(c)(3) because we conclude that it is a ‘crime of
24   violence’ under subsection (B).”). The Mendez court held that Hobbs Act conspiracy “violates
25   § 924(c)(1) because by its nature it involves a substantial risk that physical force may be used
26   against a person or property in the course of committing the offense.” Id. at 1489.
27           The Supreme Court has now held that it violates due process to impose fixed sentencing
28   consequences for a “violent crime” defined in these terms. See Dimaya, 138 S. Ct. at 1211, 1216
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 1   (impermissibly vague under Johnson to define “crime of violence” as a felony “that by its nature,
 2   involves a substantial risk that physical force against the person or property of another may be
 3   used in the course of committing the offense.”).
 4             D. Law of the Case Doctrine
 5             The presiding district judge in this case, Hon. William B. Shubb, previously granted
 6   motions to dismiss brought by three other defendants in this case, who were before the district
 7   court on remand following direct appeal. See ECF No. 1659 (order granting motions to dismiss
 8   § 924(c) counts against Lattanaphom and Huynh), as amended by ECF No. 1668; ECF No. 1698
 9   (order granting motion to dismiss § 924(c) counts against Luong). Judge Shubb dismissed the
10   § 924(c) counts against those defendants pursuant to Johnson. Id.
11             The law of the case doctrine generally precludes a court from reconsidering an issue that
12   has been previously decided by the same court, or a higher court in the same case. United States
13   v. Alexander, 106 F.3d 874, 877 (9th Cir. 1997). For the doctrine to apply, the issue in question
14   must have been decided either explicitly or by necessary implication in the prior disposition.
15   Thomas v. Bible, 983 F.2d 152, 154 (9th Cir.), cert. denied, 508 U.S. 951 (1993). The doctrine is
16   not a limitation on the court’s power, but a guide to discretion. Arizona v. California, 460 U.S.
17   605, 618 (1983). It does not apply where there has been an intervening change in law. Old
18   Person v. Brown, 312 F.3d 1036, 1039 (9th Cir. 2002).
19             Judge Shubb explicitly decided as to defendants Lattanaphom and Huynh that § 924(c)’s
20   residual clause is void for vagueness, ECF No. 1659, and as to defendant Luong that conspiracy
21   to commit Hobbs Act robbery cannot alternatively qualify as a crime of violence under the
22   statute’s force clause, ECF No. 1698. These are precisely the issues presented here.
23   Accordingly, to the extent the law of the case doctrine applies,2 it strongly favors the same result
24   for Lu.
25             E. Movant’s Constitutional Challenge To § 924(c)’s Residual Clause
26             Because the residual clause of § 924(c) is substantially similar to the residual clause of the
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         Movant Lu was not a party to his co-defendants’ litigation of those issues.
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 1   ACCA, and identical to that of the INA and 18 U.S.C. § 16(b), many federal courts have held that
 2   § 924(c)’s residual clause is unconstitutionally vague under Johnson and Dimaya. See, e.g.,
 3   United States v. Salas, 889 F.3d 681, 686 (10th Cir. 2018); United States v. Cardena, 842 F.3d
 4   959, 995-96 (7th Cir. 2016), cert. denied, 138 S. Ct. 247 (2017); United States v. Lattanaphom,
 5   159 F. Supp. 3d 1157, 1164 (E.D. Cal. 2016)3; United States v. Chavez, No. 15-cv-00285 LHK,
 6   2018 U.S. Dist. LEXIS 126292, 2018 WL 3609083 (N.D. Cal. July 27, 2018). The undersigned
 7   finds these opinions to be well reasoned and persuasive.
 8            At the time that Judge Shubb considered the post-Johnson validity of § 924(c)’s residual
 9   clause, the Ninth Circuit had extended Johnson to invalidate the residual clause of 18 U.S.C.
10   § 16(b) as incorporated into the Immigration and Nationality Act’s definition of an “aggravated
11   felony.” See Dimaya v. Lynch, 803 F.3d 1110 (9th Cir. 2015). Judge Shubb noted that the
12   language found unconstitutionally vague by the Ninth Circuit in Dimaya was identical to that of §
13   924(c)(3)(B). ECF No. 1659 at 10. He accordingly concluded that “[t]he only binding authority
14   in the Ninth Circuit compels this court to find § 924(c)[(3)(A)] void for vagueness.” Id. at 13.
15            The correctness of this conclusion is confirmed by the Supreme Court’s subsequent
16   ratification of the Ninth Circuit’s holding in Dimaya. Like the ACCA residual clause that was
17   found void for vagueness in Johnson, the language used in § 924(c)(3)(B) fails to give sufficient
18   notice to defendants of the conduct that will support the enhancement, and invites arbitrary
19   enforcement by judges. See Dimaya, 138 S. Ct. at 1213-16 (so concluding as to identical
20   language of § 16(b)). Because this conclusion is compelled by the application of binding
21   precedent, as well as the law of the case, the undersigned finds that § 924(c)’s residual clause –
22   which at the time of trial supported Lu’s conviction on the gun count, see Mendez, supra – is
23   void for vagueness and cannot support movant’s conviction.
24            Accordingly, Lu’s conviction may stand only if conspiracy to commit Hobbs Act robbery
25   independently satisfies the statute’s force or elements clause, § 924(c)(3)(A). The Ninth Circuit
26   has made it clear after Johnson and Dimaya that where the predicate offense for a § 924(c)
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         ECF No. 1659 in the instant case.
                                                      6
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 1   conviction constitutes a crime of violence under the statute’s elements clause, the conviction and
 2   sentence remain valid even assuming the invalidity of the residual clause. United States v.
 3   Watson, 881 F.3d 782, 783, 784 (9th Cir. 2018) (per curiam); see also United States v. Mobley,
 4   344 F. Supp. 3d 1089, 1100 (N.D. Cal. 2018) (“[N]either Johnson II nor Dimaya has any effect on
 5   what constitutes a crime of violence under Section 924(c)’s elements clause.”). Accordingly, the
 6   court turns to the question whether conspiracy to commit Hobbs Act robbery constitutes a crime
 7   of violence under § 924(c)(3)(A).
 8          F. Although Attempted or Actual Hobbs Act Robbery Remains a Crime of Violence That
 9              Permissibly Supports a § 924(c) Conviction and Sentence, Conspiracy to Commit
10              Such a Robbery Does Not
11          The Ninth Circuit noted in dicta in Mendez, supra, that actual Hobbs Act robbery
12   “indisputably qualifies as a crime of violence.” 922 F.2d at 1491.4 Attempts to compel a
13   different conclusion in the wake of Johnson and Dimaya have been unsuccessful. See Howard v.
14   United States, 650 F. App’x 466 (9th Cir. May 23, 2016, amended Jun. 24, 2016) (Hobbs Act
15   robbery qualifies as crime of violence under force clause, § 924(c)(3)(A)). Numerous other
16   Courts of Appeals have agreed since Johnson that Hobbs Act robbery qualifies as a crime of
17   violence under § 924(c)’s force clause. See United States v. Anglin, 846 F.3d 954, 965 (7th Cir.
18   2017); United States v. Hill, 832 F.3d 135, 144 (2d Cir. 2016); In re Fleur, 824 F.3d 1337, 1340
19   (11th Cir. 2016); United States v. Buck, 847 F.3d 267, 275 (5th Cir. 2017).
20          An overwhelming majority of district courts in this Circuit have found the reasoning of
21   Howard to be persuasive, and have held since Johnson and Dimaya that Hobbs Act robbery
22   constitutes a crime of violence under the force clause of § 924(c). See, e.g., Gaines v. United
23   States, 248 F. Supp. 3d 959 (C.D. Cal. 2017); United States v. Major, No. 1:07-cr-00156 LJO,
24   2017 U.S. Dist. LEXIS 133342, 2017 WL 3593374 (E.D. Cal. Aug. 21, 2017); United States v.
25   Figueroa, No. 12cr236-GPC, 2017 U.S. Dist. LEXIS 126508, 2017 WL 3412526 (S.D. Cal. Aug.
26   9, 2017); United States v. Reeves, No. 2:12-cr-00201-KJD-VFC, 2018 U.S. Dist. LEXIS 81515,
27
     4
       This was the primary basis for the conclusion that conspiracy to commit such a robbery
28   qualified under the residual clause. Id.
                                                     7
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 1   2018 WL 2222721 (D. Nev. May 15, 2018); United States v. Lasich, No. 3:02-cr-00305-BR,
 2   2018 U.S. Dist. LEXIS 125984, 2018 WL 3614024 (D. Ore. July 27, 2018).
 3          Attempted Hobbs Act robbery is also widely recognized as a crime of violence under the
 4   force clause. Section 924(c)(3)(A) itself defines a crime of violence as any felony that “has as an
 5   element the use, attempted use, or threatened use of physical force against the person or property
 6   of another.” (emphasis added). Numerous courts have concluded from this statutory language
 7   that the attempted commission of any offense that would constitute a crime of violence under
 8   § 924(c) also constitutes a crime of violence. See, e.g., United States v. St. Hubert, 909 F.3d 335,
 9   352 (11th Cir. 2018) (attempted Hobbs Act robbery qualifies as a crime of violence under
10   § 924(c)(3)(A)); Ovalles v. United States, 905 F.3d 1300, 1306 (11th Cir. 2018) (attempted
11   carjacking); United States v. Baires-Reyes, 191 F. Supp. 3d 1046, 1050-51 (N.D. Cal. 2016)
12   (attempted Hobbs Act robbery); United States v. Lopez, No. 1:19-cr-00014 DAD, 2019 U.S. Dist.
13   LEXIS 79647, 2019 WL 2077031 (E.D. Cal. May 10, 2019) (attempted armed bank robbery).
14          Conspiracy is another matter, however. The elements of conspiracy to commit Hobbs Act
15   robbery are as follows: “(1) two or more people agreed to commit a robbery or extortion of the
16   type discussed in the Hobbs Act; (2) the defendant had knowledge of the conspiratorial goal; and
17   (3) the defendant voluntarily participated in trying to accomplish the conspiratorial goal.” United
18   States v. Si, 343 F.3d 1116, 1123-24 (9th Cir. 2003). An overt act in furtherance of the goal of
19   the conspiracy is not required. United States v. Dennis, Civ. No. 11-141 BLG RFC, 2013 U.S.
20   Dist. LEXIS 26991, 2013 WL 704482, at *7 (D. Mont. Feb. 27, 2013), aff’d, 569 F. App’x 533
21   (9th Cir. 2014) (“Unlike the crime of attempted robbery to affect commerce, to convict
22   [defendant] of conspiracy to commit robbery affecting commerce under 18 U.S.C. § 1951(a), the
23   United States need not prove [defendant] took a ‘substantial step’ towards the commission of the
24   crime.”). Accordingly, Hobbs Act conspiracy is unlike both Hobbs Act robbery and attempted
25   Hobbs Act robbery in that the actual, attempted or threatened use of force is not an element of the
26   offense.
27          This conclusion is reinforced by the jury instructions that were given in this case.
28   Movant’s jury was instructed that conspiracy to commit Hobbs Act robbery is:
                                                      8
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 1                  [A] kind of criminal partnership — an agreement of two or more
                    persons to commit one or more crimes. The crime of conspiracy is
 2                  the agreement to do something unlawful; it does not matter whether
                    the crime agreed upon was committed. . . . You must find that there
 3                  was a plan to commit robbery which if successful would have
                    affected interstate or foreign commerce as an object of the
 4                  conspiracy.
 5

 6   ECF No. 520 (Jury Instruction No. 22). The jury was thus not required to find that Lu used,

 7   attempted to use, or threatened to use physical force in order to find him guilty of conspiracy.

 8          Judge Shubb has previously concluded that conspiracy to commit Hobbs Act robbery does

 9   not qualify as a crime of violence under § 924(c)(3)(A). ECF No. 1698 (order granting motion to

10   dismiss § 924(c) counts against Luong). That conclusion rested on consideration of the elements

11   and jury instructions nearly identical to those noted above. Id. at 3-4. Judge Shubb noted that the

12   Ninth Circuit has never held that Hobbs Act conspiracy constitutes a crime of violence under §

13   924(c)’s elements clause, but had only found that it qualified under the now-invalidated residual

14   clause. Id. at 4-6 (discussing Mendez, 992 F.2d 1488). Because conspiracy to commit Hobbs Act

15   robbery does not require “as an element the use, attempted use, or threatened use of physical

16   force against the person or property of another” as specified by § 924(c)(3)(A), Judge Shubb

17   concluded that such conspiracy cannot support a § 924(c) gun count. That conclusion applies

18   equally to movant here.

19          The court is entirely unpersuaded by the government’s attempt to save the § 924(c)

20   conviction by arguing that actual Hobbs Act robbery should be considered the predicate offense

21   because the evidence at trial proved that offense, even though it was not the charged predicate

22   offense. See ECF No. 1768 at 12 (“The defendants need not be charged in the indictment with

23   the predicate offense constituting the crime of violence, the government need only prove the

24   predicate offense.”). The government states that “[t]he predicate offense constituting the crime of

25   violence in the instant case is conspiracy to commit Hobbs Act and the substantive offense of

26   Hobbs Act robbery.” Id. (emphasis added). That is not true. Count One charges conspiracy to

27   commit Hobbs Act robbery. The government could have also charged movant with attempted or

28   actual robbery, but did not do so. It cannot now escape the consequences of that charging
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 1   decision by relying on the proposition that a defendant may be charged and convicted of a § 924
 2   gun count without the predicate offense also being charged. See ECF No. 1768 at 15 (citing
 3   United States v. Hunter, 887 F.2d 1001, 1003 (9th Cir. 1998) (per curiam) and United States v.
 4   Bracy, 67 F.3d 1421 (9th Cir. 1995).
 5          Hunter and Bracy are both § 924(c)(1) cases holding that the underlying, qualifying felony
 6   offense need not be separately charged, though it must be admitted or proved as an element of
 7   § 924(c) liability. This principle underlies the common practice of charging only gun counts in a
 8   significant category of federal cases. The undersigned is aware of no authority, however,
 9   expanding this principle to permit the government to expressly charge one predicate offense, and
10   then change its theory as to the basis for § 924(c) liability when the conviction for the predicate
11   offense proves to be invalid. The government’s argument is rejected.
12          Movant here was charged with a specific predicate offense: Hobbs Act conspiracy.
13   Because conspiracy to commit Hobbs Act robbery does not qualify as a crime of violence under
14   § 924(c)(3)(A), and the statute’s residual clause is unconstitutionally vague under Johnson and
15   Dimaya, Lu’s § 924(c) convictions cannot stand.
16          G. Movant’s Challenge to § 924(j)
17          Lu and his co-defendants were convicted of conspiracy to rob a jewelry store in Stockton
18   in 1996 (Count 1); using firearms in the course of that conspiracy (Count 2); and thereby causing
19   the death of the jewelry store owner (Count 3). Count Two was brought under § 924(c) and was
20   predicated on the Hobbs Act conspiracy charged in Count One. Count Three charged movant
21   under § 924(j) with causing, or aiding and abetting, a murder “in the course of a
22   violation of subsection (c).” § 924(j).
23          Section 924(j) provides as follows:
24                  (j) A person who, in the course of a violation of subsection (c),
                    causes the death of a person through the use of a firearm, shall --
25
                    (1) if the killing is a murder (as defined in section 1111), be
26                  punished by death or by imprisonment for any term of years or for
                    life; and
27
                    (2) if the killing is manslaughter (as defined in section 1112), be
28                  punished as provided in that section.
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 1                The plain language of the statute makes § 924(j) liability entirely contingent on a
 2   predicate § 924(c) conviction. Because movant’s § 924(c) conviction is invalid for the reasons
 3   explained above, the § 924(j) conviction also fails to survive Johnson.
 4                The government invokes the law of the case doctrine, arguing that this court is bound by
 5   the Ninth Circuit’s decision on direct appeal that Hobbs Act robbery can support felony murder
 6   under 18 U.S.C. § 1111 whether or not substantive robbery is charged, as long as it is proved.
 7   ECF No. 1768 at 16. This argument misses the mark. Because movant’s § 924 (c) conviction is
 8   invalid after Johnson, it does not matter whether the terms of § 924(j)(1) or (2) are satisfied.
 9   Accordingly, the § 1111 issue is not presented here, and the Ninth Circuit’s previous ruling about
10   the felony-murder statute is irrelevant.
11                H. Conclusion
12                For all the reasons explained above, the motion should be granted as to Counts Two and
13   Three.
14          IV.      MOVANT’S MILLER V. ALABAMA CLAIM
15                In Miller v. Alabama, 567 U.S. 460 (2012), the Supreme Court held that the Eighth
16   Amendment prohibits application to juvenile offenders of mandatory sentences of life without the
17   possibility of parole. In 2016, the Supreme Court made this holding retroactive to cases on
18   collateral review. Montgomery v. Louisiana, 136 S. Ct. 718 (2016). In light of this authority, Mr.
19   Lu seeks a new sentencing hearing.
20                This is not the first time that Lu has challenged his life sentence under Miller. Movant
21   sought the benefit of Miller in his first § 2255 motion, filed in 2012. ECF No. 1567 at 57-64.
22   Judge Shubb rejected the claim. ECF No. 1597 at 14-16. Movant now implies that because the
23   retroactivity of Miller was not settled at that time, and because Judge Shubb had noted out-of-
24   circuit authority declining to apply Miller retroactively, Montgomery constitutes a change in law
25   that supports re-opening the matter. However, as movant acknowledges, Judge Shubb in 2013
26   assumed without deciding that Miller could be applied retroactively, and found that it did not
27   require re-resentencing:
28   ////
                                                           11
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 1                  Even assuming, without deciding, that the court may apply Miller
                    to the present case, defendant was not sentenced to life without
 2                  parole pursuant to a mandatory sentencing scheme which prohibited
                    the court from taking into account the issues identified by the
 3                  Court. Rather, the court could-and did-take the various issues
                    suggested by the Miller decision into account when sentencing
 4                  defendant, as evidenced by the court’s candid acknowledgment that
                    it “struggled with the fact that Mr. Lu was 16 years old at the time
 5                  of the crime.” (Re-Sentencing Tr. at 41:20-21; see also id. at 31:15-
                    22; 36:21-23.) The Ninth Circuit, in reviewing defendant’s
 6                  sentence, confirmed that the court “‘properly understood the full
                    scope of [its] discretion’ following United States v. Booker, 543
 7                  U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005).” Bao Lu, 414
                    Fed. App’x at 973 (quoting United States v. Combs, 470 F.3d 1294,
 8                  1297 (9th Cir. 2006)).
 9                  Thus, even if the court could apply Miller to this case, defendant’s
                    sentence does not violate the Eighth Amendment, and defendant’s
10                  claim based upon such violation will accordingly be denied.
11   ECF No. 1597 at 15-16 (footnotes omitted).

12          The 2013 ruling that Lu’s life sentence does not violate the Eighth Amendment within the

13   meaning of Miller constitutes the law of the case. See Alexander, 106 F.3d at 877. Because the

14   issue of retroactivity was not the basis for the district judge’s rejection of the Eighth Amendment

15   claim, Montgomery provides no reason to revisit the issue.

16          Movant’s resentencing in 2009 was conducted under the post-Booker advisory Guidelines

17   regime. Accordingly, the life sentenced cannot be considered “mandatory” within the meaning of

18   Miller. Miller requires individualized sentencing for juveniles, including judicial discretion to

19   consider alternatives to life without parole, and an opportunity to present evidence of the capacity

20   for rehabilitation. Miller, 567 U.S. at 465. Here, the court had – and understood – its discretion

21   to depart from the Guidelines. The court specifically inquired how the defendant’s youth at the

22   time of the offense should affect the sentencing decision. ECF No. 1300 (transcript of re-

23   sentencing hearing) at 36. The defendant presented mitigation evidence including evidence

24   related to his capacity for rehabilitation and expert testimony regarding the physiological and

25   psychological aspects of his age on his culpability. Although the re-sentencing proceedings took

26   place before Miller was decided, they provided the opportunity that Miller requires. Accordingly,

27   the claim of an Eighth Amendment violation is meritless.

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 1      V.      CONCLUSION
 2           Accordingly, for the reasons set forth above, IT IS HEREBY RECOMMENDED that the
 3   Motion to Vacate, Set Aside, or Correct Sentence Under 28 U.S.C. § 2255, ECF No. 1719 , be
 4   GRANTED IN PART and DENIED IN PART as follows:
 5           1. The motion should be GRANTED and movant’s convictions on Counts Two and
 6              Three should be vacated pursuant to Johnson v. United States, 135 S. Ct. 2551 (2015);
 7              and
 8           2. Movant’s request for relief pursuant to Miller v. Alamaba, 567 U.S. 460 (2012),
 9              should be DENIED.
10           3. The Clerk of the Court be directed to close the companion civil case No. 2:16-cv-1616
11              WBS AC P.
12           These findings and recommendations are submitted to the United States District Judge
13   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within fourteen (14)
14   days after service of these findings and recommendations, any party may file written objections
15   with the court and serve a copy on all parties. Such a document should be captioned “Objections
16   to Magistrate Judge’s Findings and Recommendations.” Any response to the objections shall be
17   filed and served within seven days after service of the objections. The parties are advised that
18   failure to file objections within the specified time may waive the right to appeal the District
19   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
20   DATED: August 8, 2019
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